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                                                                       APR - 6, 2021

                                                                            CMJ
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8
9                            UNITED STATES DISTRICT COURT
10                         CENTRAL DISTRICT OF CALIFORNIA
11
12       SECURITIES AND EXCHANGE                    Case No. 2:21-CV-02927-CAS-GJSx
         COMMISSION,
13                                                  ORDER (1) FREEZING ASSETS; (2)
                     Plaintiff,                     REQUIRING AN ACCOUNTING; (3)
14                                                  PROHIBITING DESTRUCTION OF
               vs.                                  DOCUMENTS; AND (4) TO SET
15                                                  HEARING ON ORDER TO SHOW
         ZACHARY J. HORWITZ; AND                    CAUSE
16
         1INMM CAPITAL, LLC,
17
                                                    (FILED UNDER SEAL)
18                   Defendants.
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1            This matter came before the Court upon the Application of Plaintiff Securities
2      and Exchange Commission (“SEC”) for an Order (1) Freezing Assets; (2) Requiring
3      An Accounting; (3) Prohibiting Destruction of Documents; and (4) To Set Hearing
4      On Order to Show Cause (the “Asset Freeze Application”).
5            The Court, having considered the SEC’s Complaint, the Asset Freeze
6      Application, the supporting Memorandum of Points and Authorities, the supporting
7      declarations and exhibits, and the other evidence and argument presented to the
8      Court, finds that:
9            A.     This Court has jurisdiction over the parties to, and the subject matter of,
10                  this action.
11           B.     The SEC has made a sufficient and proper showing as required by
12                  Section 20(b) of the Securities Act of 1933 (“Securities Act”) (15 U.S.C.
13                  § 77t(b)), and Section 21(d) of the Securities Exchange Act of 1934
14                  (“Exchange Act”) (15 U.S.C. § 78u(b)) that it is likely to succeed on the
15                  merits of its claims that Zachary J. Horwitz (“Horwitz”) and 1inMM
16                  Capital, LLC (“1inMM”) (collectively “Defendants”) violated Section
17                  17(a) of the Securities Act, 15 U.S.C. § 77q(a); Section 10(b) of the
18                  Securities Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 thereunder,
19                  17 C.F.R. § 240.10b-5.
20           C.     Good cause exists to believe that, unless restrained and enjoined by
21                  order of this Court, Defendants will dissipate, conceal, or transfer assets
22                  which could be the subject to an order directing disgorgement or the
23                  payment of civil money penalties in this action. It is appropriate for the
24                  Court to issue this Order freezing assets so that prompt service on
25                  appropriate financial institutions can be made, thus preventing the
26                  dissipation of assets.
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1            D.     Good cause exists to believe that an immediate sworn accounting of
2                   assets is necessary to identify the source and location of Defendants’
3                   assets.
4            E.     Good cause exists to believe that, unless restrained and enjoined by
5                   order of this Court, Defendants may alter or destroy documents relevant
6                   to this action.
7                                                  I.
8            IT IS HEREBY ORDERED that the SEC’s Asset Freeze Application is
9      GRANTED.
10                                                II.
11           IT IS FURTHER ORDERED that, pending further action by this Court,
12           A.     All assets, funds, or other property of Defendants, wherever located or
13     by whomever held, and whether acquired before or after institution of this action, are
14     frozen (with allowance for necessary and reasonable living expenses to be granted by
15     this Court only upon good cause shown by application to the Court with notice to and
16     an opportunity for the SEC to be heard);
17           B.     Defendants and their agents, servants, employees, attorneys-in-fact, and
18     those persons in active concert or participation with them who receive actual notice
19     of this order by personal service or otherwise, and each of them, shall hold and retain
20     within their control, and otherwise prevent any disposition, transfer, pledge,
21     encumbrance, assignment, dissipation, concealment, or other disposal whatsoever
22     (including the use of any credit cards or other incurring of debt) of any of their funds,
23     property (including money, virtual currency or other digital asset, real or personal
24     property, tangible assets, securities, commodities, choses in action, or other property
25     of any kind whatsoever, in whatever form such assets may exist and wherever
26     located) or other assets or things of value held by them, under their control or over
27     which they exercise actual or apparent investment or other authority, in whatever
28     form such assets may presently exist and wherever located.

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1            This Order specifically applies, but is not limited, to the following real
2      property:
3                  Property Address                            Owners
4       9615 Bolton Road                      MJLZ Trust, a beneficial trust set up on
        Los Angeles, CA 90034                 behalf of Zachary J. Horwitz and his
5                                             spouse.

6            C.       Any bank, financial, brokerage institution, or other person or entity
7      holding any funds, securities or other assets in the name of, for the benefit of, or
8      under the control of Defendants and their family members, agents, servants,
9      employees, attorneys-in-fact, and those persons in active concert or participation
10     with him, shall hold and retain within their control and prohibit the withdrawal,
11     removal, transfer or other disposal of any such funds or other assets.
12           This Order specifically applies, but is not limited, to the following accounts:
13       BANK NAME                    ACCOUNT NAME                        ACCOUNT NO.
14       City National Bank           1inMM Capital, LLC                  XXXXX0290
15       City National Bank           1inMM Capital, LLC                  XXXXX2944
16       City National Bank           Zachary J. Horwitz                  XXXXX5270
17       City National Bank           1inMM Productions                   XXXXX1130
18
         City National Bank           MJLZ Trust Account                  XXXXX0501
19
         City National Bank           Zachary J. Horwitz                  XXXXX9641
20
         City National Bank           One N Million                       XXXXX0616
21
         City National Bank           Rogue Black LLC                     XXXXX1710
22
         City National Bank           LayJax Ventures                     XXXXX7302
23
24           D.       No person or entity, including the Defendants or any creditor or
25     claimant against them or any person acting on behalf of such creditor or claimant,
26     shall take any action to interfere with the asset freeze, including, but not limited to,
27     the filing of any lawsuits (whether to recover assets or seek relief from Defendants
28     or to seek relief on behalf of Defendants), liens, or encumbrances, or bankruptcy

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1      cases to impact the property and assets subject to this order; provided, however,
2      that any party or non-party may seek leave from this order upon a proper showing.
3            E.     Copies of this Order may be served by any means, including facsimile
4      transmission and email, upon any entity or person that may have possession,
5      custody, or control of any assets of Defendants that may be subject to any
6      provision of this Order.
7                                                 III.
8            IT IS FURTHER ORDERED that Defendants within five days of the issuance
9      of this Order, shall prepare and deliver to the SEC a detailed and complete schedule
10     of all personal assets, including all real and personal property exceeding $5,000 in
11     value, including all property held in trust, and all bank, securities, and other accounts
12     identified by institution, branch address and account number. The accounting shall
13     include a description of the sources of all such assets. Such accounting shall be filed
14     with the Court and a copy shall be delivered to the SEC to the attention of Kathryn C.
15     Wanner, counsel for the SEC. After completion of the accounting, Defendants shall
16     produce to the SEC at a time agreeable to the SEC, all books, records and other
17     documents supporting or underlying their accounting.
18                                                IV.
19           IT IS FURTHER ORDERED that any person who receives actual notice of this
20     Order by personal service or otherwise, and who holds, possesses or controls assets
21     exceeding $5,000 for the account or benefit of the Defendants, shall within 5 days of
22     receiving actual notice of this Order provide counsel for the SEC with a written
23     statement identifying all such assets, the value of such assets, or best approximation
24     thereof, and any account numbers or account names in which the assets are held.
25                                                V.
26           IT IS FURTHER ORDERED that, except as otherwise ordered by this Court,
27     Defendants, and their agents, servants, employees, attorneys, and those persons in
28     active concert or participation with any of them, who receive actual notice of this

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1      Order, by personal service or otherwise, and each of them, be and hereby are
2      temporarily restrained and enjoined from, directly or indirectly: destroying,
3      mutilating, concealing, transferring, altering, or otherwise disposing of, in any
4      manner, any documents, which includes all books, records, computer programs,
5      computer files, computer printouts, contracts, emails, correspondence, memoranda,
6      brochures, or any other documents of any kind in their possession, custody or control,
7      however created, produced, or stored (manually, mechanically, electronically, or
8      otherwise), pertaining in any manner to Defendants.
9                                                 VI.
10           IT IS FURTHER ORDERED that this Asset Freeze Order shall expire at 
11     30 on $SULO , 2021 unless for good cause shown it is extended or the parties
12     against whom it is directed consent that it may be extended for a longer period.
13                                               VII.
14           IT IS FURTHER ORDERED that at  $0 on $SULO , 2021, or as soon
15     thereafter as the parties may be heard, the Defendant shall appear before the
16     Honorable &KULVWLQD $ 6Q\GHU, Judge of the United States District Court for the
17     Central District of California, to show cause, if there be any, why the asset freeze
18     should not continue until this matter is determined on the merits. Any declarations,
19     affidavits, points and authorities, or other submissions in support of, or in opposition
20     to, the issuance of such an Order shall be filed with the Court and emailed to Kathryn
21     C. Wanner, counsel for the SEC, at wannerk@sec.gov, and the offices of the
22     Defendants or their attorneys no later than 4:00 P.M. on April 13, 2021. Any reply
23     papers shall be filed with the Court and delivered to opposing counsel no later than
24     4:00 P.M. on April 15, 2021.
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